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18‐3430
In re: United States of America



                          United States Court of Appeals
                              for the Second Circuit

                                       AUGUST TERM 2018



                                       Docket No. 18‐3430


                             IN RE: UNITED STATES OF AMERICA,

                                  UNITED STATES OF AMERICA,


                                            Petitioner,



                                                v.



                                      YEHUDI MANZANO,

                                           Respondent.



                                    ARGUED: FEBRUARY 13, 2019

                                   DECIDED: DECEMBER 18, 2019



        Before:           PARKER, CHIN, AND SULLIVAN, Circuit Judges.

     On the eve of trial, the United States District Court for the District of
Connecticut (Underhill, Chief Judge) ruled that Respondent – who is charged with,
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inter alia, production of child pornography, an offense punishable by a mandatory
minimum term of fifteen years’ imprisonment – could argue jury nullification at
trial. The district court also reserved decision on whether evidence of sentencing
consequences would be admissible. The government now petitions for a writ of
mandamus directing the district court to preclude defense counsel from arguing
nullification and to exclude any evidence of sentencing consequences. We hold
that the conditions for mandamus relief are satisfied with respect to the district
court’s nullification ruling, but not with respect to the admissibility of evidence of
sentencing consequences. Thus, we grant in part and deny in part the petition.
      Judge Parker concurs in part and dissents in part in a separate opinion.
                                       SANDRA S. GLOVER, Assistant United
                                       States Attorney (Sarah P. Karwan, Neeraj
                                       Patel, Assistant United States Attorneys, on
                                       the brief), for John H. Durham, United States
                                       Attorney for the District of Connecticut,
                                       New Haven, CT, for Petitioner.
                                       NORMAN A. PATTIS, Pattis & Smith, LLC,
                                       New Haven, CT, for Respondent.
                                       JOHN GLEESON (Pooja A. Boisture,
                                       Nathan S. Richards, on the brief), Debevoise
                                       & Plimpton LLP, New York, NY, for Amicus
                                       Curiae The Honorable Stefan R. Underhill.
                                       Clark M. Neily III, Jay R. Schweikert, Cato
                                       Institute, Washington, D.C., counsel of record,
                                       Mary       Price,   FAMM        Foundation,
                                       Washington, D.C., Peter Goldberger,
                                       Ardmore, PA, Joel B. Rudin, National
                                       Association of Criminal Defense Lawyers,
                                       New York, NY, for Amici Curiae Cato
                                       Institute, FAMM Foundation, and National
                                       Association of Criminal Defense Lawyers.


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                                       Timothy Lynch, The Fully Informed Jury
                                       Association, Helena, MT, for Amicus Curiae
                                       The Fully Informed Jury Association.
RICHARD J. SULLIVAN, Circuit Judge:


      Respondent Yehudi Manzano stands charged with production of child

pornography, an offense punishable by a mandatory minimum term of fifteen

years’ imprisonment, and transportation of child pornography, which is

punishable by a mandatory minimum term of five years’ imprisonment. Shortly

before trial, he filed motions requesting permission to argue for jury nullification

– in essence, that the jury should render a verdict not in accordance with the law

– and to present evidence regarding the sentencing consequences of a conviction

in this case. On the eve of trial, the district court (Underhill, Chief Judge) granted

Manzano’s request to argue jury nullification, but reserved decision on the

admissibility of evidence regarding the sentencing consequences of a conviction.


      The government now seeks a writ of mandamus directing the district court

to (1) preclude defense counsel from arguing jury nullification, and (2) exclude any

evidence of sentencing consequences at trial. Applying settled law in this circuit,

we hold that the government has a clear and indisputable right to a writ directing

the district court to deny defense counsel’s motion for leave to argue jury


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nullification, and that the other conditions for mandamus relief are satisfied. We

further hold that, at this time, the government does not possess a clear and

indisputable right to a writ directing the district court to exclude any evidence of

sentencing consequences.


       Accordingly, we grant in part and deny in part the government’s petition.


                                        I. BACKGROUND


                                            A. Facts1


       In October 2016, law enforcement officers in Connecticut received

information that a 15‐year‐old girl, M.M., had been in a sexual relationship with

Yehudi Manzano, the 31‐one‐year‐old landlord of the building where she lived.

During the ensuing state investigation, officers searched Manzano’s cell phone

pursuant to a warrant and discovered a video of M.M. and Manzano engaged in

sexually explicit conduct.


       M.M. knew that Manzano was recording the video at the time, and Manzano

did not threaten her or force her to engage in the sexual conduct. Nonetheless,

M.M. was 15 years old when the video was recorded and therefore was incapable



1The following facts have not yet been admitted into evidence in the district court, but the parties
do not dispute them for the limited purpose of our review of the government’s petition.
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of consenting to sexual conduct as a matter of law. See Conn. Gen. Stat. § 53a‐

71(a)(1). Although Manzano did not distribute the video, he uploaded it, using

internet servers located outside of Connecticut, to his personal Google Photos

folder.


                            B. District Court Proceedings


      In May 2018, a grand jury sitting in Connecticut returned an indictment

charging Manzano with one count of production of child pornography, in

violation of 18 U.S.C. § 2251(a), and one count of transportation of child

pornography, in violation of 18 U.S.C. § 2252A(a)(1). The production count is

punishable by a mandatory minimum term of fifteen years’ imprisonment, 18

U.S.C. § 2251(e), while the transportation count is punishable by a mandatory

minimum term of five years’ imprisonment, id. § 2252A(b)(1). The district court

set a trial date of October 29, 2018.


          On October 1, 2018, Manzano filed a pretrial “Motion to Permit Counsel to

Argue Jury Nullification” in which he sought “permission to make the jury aware

of the penalty, and to argue that the [g]overnment’s application of the law to the

particular facts of this case is an obscene miscarriage of justice.” United States v.

Manzano, No. 18‐cr‐95 (SRU) (D. Conn. Oct. 1, 2018), ECF No. (“Doc. No.”) 30. In

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support of these requests, Manzano argued that “[b]ut for [M.M.’s] age, the contact

was consensual,” and “[b]ut for the fact that his telephone was seized pursuant to

a warrant, no one would ever have had access to the film.”           Id.   Manzano

acknowledged that the government “may well be able to prove the elements of the

[production] offense,” but he insisted that “the conduct at issue here, while

perhaps not innocent, [was] in no way so sinister as to warrant” the fifteen‐year

mandatory minimum penalty. Id.


      On October 11, 2018, the government filed its opposition to Manzano’s

motion and requested that defense counsel “be precluded, through a jury address,

witness examination, or offer of evidence, from informing the jury about the

sentencing consequences or suggesting to the jury that they may acquit if they find

the [g]overnment’s prosecution or the sentencing consequences are unjust.” Doc.

No. 36 at 7. The government renewed that request in its motions in limine, filed

October 23, 2018, which sought “to preclude evidence and/or argument of the

propriety of the [g]overnment’s prosecution.” Doc. No. 45 at 9–10.


      On October 25, 2018, with trial set to begin in four days, the district court

held a pretrial conference at which it reserved decision on the government’s

motion. The next day, Manzano requested that the court rule on his still pending


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“request to argue jury nullification and to present evidence of the sentencing

consequences of a conviction to the jury.” Doc. No. 48 at 10.


         On October 29, 2018, the day the trial was scheduled to begin, the district

court held another pretrial conference at which it granted Manzano’s motion to

permit counsel to argue jury nullification, while reserving decision on the

admissibility of evidence related to sentencing consequences. In explaining its

ruling, the district court began by observing that “[t]his is a shocking case . . . that

calls for jury nullification.”2 Doc. No. 60 at 34. The court then ruled:


         [T]he law precludes me from charging the jury, the law precludes me
         from encouraging the jury, and I don’t intend to do that. But if
         evidence comes in about the length of sentence, or if [defense counsel]
         chooses to argue, I do not feel that I can preclude that. I don’t feel I’m
         required to preclude that. And I think justice requires that I permit
         that. So it’s not going to come from me, but I think justice cannot be
         done here if the jury is not informed, perhaps by [defense counsel],
         that that’s the consequence here.




2   More fully, the district court explained:
         This is a shocking case. This is a case that calls for jury nullification. . . . I am
         absolutely stunned that this case, with a 15‐year mandatory minimum, has been
         brought by the government. . . . I am going to be allowed no discretion at
         sentencing to consider the seriousness of this conduct or the lack or seriousness of
         this conduct, and it is extremely unfortunate that the power of the government has
         been used in this way, to what end I’m not sure.
Doc. No. 60 at 34.

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Id. at 34–35. The district court memorialized its ruling in a minute entry stating

that “[Manzano’s] motion is granted to the extent it seeks permission to argue for

jury nullification.” Doc. No. 58.


      The government immediately filed an emergency motion to adjourn the trial

while it sought permission from the Solicitor General’s Office to file a petition for

writ of mandamus in this court. At an emergency motion hearing held the same

day, the district court granted the government’s motion, dismissed the jury, and

adjourned the trial pending our resolution of the government’s petition. With

respect to its jury nullification ruling, the district court also reiterated: “I simply

am allowing [defense counsel] to argue as he chooses to argue. There is no doubt

that juries have the power to nullify, and [defense counsel] intends to argue that

they should.” Doc. No. 62 at 4–5.


      This petition for a writ of mandamus followed.


                                    II. DISCUSSION


      The common‐law writ of mandamus is codified in the All Writs Act, which

provides that federal courts “may issue all writs necessary or appropriate in aid of

their respective jurisdictions and agreeable to the usages and principles of law.”

28 U.S.C. § 1651(a); Cheney v. U.S. Dist. Court, 542 U.S. 367, 380 (2004). “The

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traditional use of the writ in aid of appellate jurisdiction both at common law and

in the federal courts has been to confine [the court against which mandamus is

sought] to a lawful exercise of its prescribed jurisdiction.” Cheney, 542 U.S. at 380

(alteration in original) (quoting Roche v. Evaporated Milk Ass’n, 319 U.S. 21, 26

(1943)).   Although courts have not subscribed to a “technical definition of

‘jurisdiction,’” it is common ground that mandamus may lie only in “exceptional

circumstances amounting to a judicial usurpation of power or a clear abuse of

discretion.” Id. (internal quotation marks and citations omitted).


      “The writ is, of course, to be used sparingly.” Stein v. KPMG, LLP, 486 F.3d

753, 760 (2d Cir. 2007). Thus, three demanding conditions must be satisfied before

the writ may issue:    (1) the petitioner must “have no other adequate means to

attain the relief [it] desires;” (2) the petitioner must satisfy “the burden of showing

that [its] right to issuance of the writ is clear and indisputable;” and (3) the issuing

court “must be satisfied that the writ is appropriate under the circumstances.”

Cheney, 542 U.S. at 380–81 (internal quotation marks and citations omitted).


      Here, the government petitions for a writ of mandamus directing the district

court to (1) preclude defense counsel from arguing jury nullification at trial, and




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(2) exclude any evidence regarding the applicable mandatory minimum sentences.

Applying the framework set forth in Cheney, we consider each claim in turn.


                                A. Jury Nullification


               1. Other Adequate Means to Obtain the Relief Sought


      To satisfy the first Cheney condition, a petitioner must show that it “ha[s] no

other adequate means to attain the relief [it] desires.” Id. at 380. This requirement

is generally unsatisfied where (1) the district court has not yet foreclosed the relief

sought in the petition, see Kerr v. U.S. Dist. Court, 426 U.S. 394, 404–06 (1976); see

also, e.g., Philip Morris Inc. v. Nat’l Asbestos Workers Med. Fund, 214 F.3d 132, 135 (2d

Cir. 2000) (per curiam), or (2) the petitioner can obtain relief through the regular

appeals process, see Cheney, 542 U.S. at 380–81.


      Appearing as amicus, Judge Underhill contends that his ruling permitting

defense counsel to argue jury nullification did “‘not foreclose’ the relief the

[g]overnment seeks” because it was contingent on later rulings of the court. Brief

of the Honorable Stefan R. Underhill as Amicus Curiae at 14 (quoting Kerr, 426 U.S.

at 404); see also, e.g., In re Cohn, 416 F.2d 440, 441 (2d Cir. 1969) (per curiam)

(denying a petition for writ of mandamus where it was “clear that the district

judge, in denying the application for adjournment [of trial], d[id] not view his

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action as being final”). In particular, Judge Underhill argues that his ruling was

contingent on whether evidence of the applicable mandatory minimums would

later be ruled admissible at trial. We are not persuaded.


      As an initial matter, Manzano did not seek permission to argue jury

nullification only in the event he could introduce evidence of the mandatory

minimums at trial. Rather, he filed a pretrial “Motion to Permit Counsel to Argue

Jury Nullification,” which sought the court’s permission “both to inform the jury

of the consequences of a conviction, and to argue to the jury that the law as applied

[to] the particular facts of this case is . . . fundamentally unfair.” Doc. No. 30 at 2.

Likewise, the government’s request to preclude defense counsel from arguing jury

nullification was not predicated on the admissibility of evidence. In its opposition

to Manzano’s motion, the government requested that counsel be precluded from

arguing jury nullification “through a jury address, witness examination, or offer

of evidence.” Doc. No. 36 at 7. The government’s motions in limine similarly

sought “to preclude evidence and/or argument of the propriety of the

[g]overnment’s prosecution.” Doc. No. 45 at 9–10 (emphasis added).


      The district court granted Manzano’s motion and denied the government’s

corresponding request and motion in limine without any relevant qualification.


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Although the district court recognized that evidence of the mandatory minimums

was a basis for defense counsel’s jury nullification argument, the district court did

not limit its ruling to that basis. Rather, the district court ruled: “If evidence comes

in about the length of sentence, or if [defense counsel] chooses to argue, I do not feel

that I can preclude that. . . . And I think justice requires that I permit that.” Doc.

No. 60 at 34–35 (emphasis added). Consistent with this unambiguous statement,

the district court memorialized its ruling in a minute entry that stated clearly and

without any qualification that “[Manzano’s] motion is granted to the extent it seeks

permission to argue for jury nullification.”3 Doc. No. 58. On this record, there can

be no doubt that the district court granted defense counsel’s request to argue jury




3 Our dissenting colleague points to the district court’s remark, made at a hearing held later the
same day, that if “evidence of the mandatory minimum[s] . . . comes in as a matter of trial
evidence, [defense counsel] is permitted to argue from that to the jury.” Doc. No. 62 at 6–7. That
statement, however, came only after the district court had already ruled, and in any event, it was
consistent with the court’s earlier observation that evidence of the mandatory minimums was one
way in which defense counsel might attempt to argue nullification. Moreover, in the same
hearing, the district court also stated that it was “simply allowing [defense counsel] to argue as
he chooses to argue,” while recognizing that “juries have the power to nullify, and [defense
counsel] intends to argue that they should.” Id. at 4–5.
         The dissent also relies in part on arguments advanced by Judge Underhill as amicus.
Dissenting Op. at 16. While we have given due consideration to these arguments, which Judge
Underhill permissibly raised through counsel in this mandamus proceeding, see Ligon v. City of
New York, 736 F.3d 166, 171 & n.11 (2d Cir. 2013), ultimately we must ground our assessment of
the proceedings below in the record rather than the parties’ briefs, see, e.g., Cross & Cross Properties,
Ltd. v. Everett Allied Co., 886 F.2d 497, 505 (2d Cir. 1989).
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nullification at trial, and that such a ruling was not contingent on later evidentiary

rulings of the court.


      We also conclude that the ordinary appeals process would not afford the

government an adequate means of obtaining the relief it seeks. See Cheney, 542

U.S. at 380–81. The regular appeals process will be unavailable to the government

if Manzano prevails at trial, because double jeopardy will have attached and the

government will not be able to appeal the jury’s verdict of acquittal. See U.S. Const.

amend. V; 18 U.S.C. § 3731; see also, e.g., United States v. Amante, 418 F.3d 220, 222

(2d Cir. 2005). Conversely, “if the government were to secure a conviction, any

appeal would be moot and any alleged error would necessarily be harmless.”

Amante, 418 F.3d at 222. It is true, of course, that mandamus may not be invoked

as a “substitute” for an interlocutory appeal – an uncontroversial rule that is made

no “less compelling by the fact that the [g]overnment has no later right to appeal.”

Will v. United States, 389 U.S. 90, 97 (1967) (internal quotation marks, citation, and

ellipses omitted). Our precedents make it abundantly clear, however, that the

government’s limited right of appeal in criminal cases is relevant to the mandamus

inquiry. See, e.g., Amante, 418 F.3d at 222; In re United States, 903 F.2d 88, 89 (2d

Cir. 1990); see also United States v. Sam Goody, Inc., 675 F.2d 17, 25 (2d Cir. 1982)


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(discussing the rule stated in Will and recognizing that “[t]he writ thus is not to be

granted merely because it is the only way in which the district court’s new‐trial

order might be reviewed” (emphasis added)), superseded by statute on other grounds

as stated in United States v. Hundley, 858 F.2d 58 (2d Cir. 1988); United States v.

Weinstein, 511 F.2d 622, 627 (2d Cir. 1975) (granting a petition for writ of

mandamus in part due to the “risk that the [g]overnment might be precluded on

double jeopardy grounds from appealing”). Thus, the first Cheney condition is

plainly satisfied. See Amante, 418 F.3d at 222; In re United States, 903 F.2d at 89.


                   2. “Clear and Indisputable” Right to the Writ


      The second Cheney condition requires that a petitioner’s “right to issuance

of the writ [be] ‘clear and indisputable.’” 542 U.S. at 381 (quoting Kerr, 426 U.S. at

403). This condition is satisfied where a district court commits “a clear and

indisputable abuse of its discretion,” that is, where the court clearly and

indisputably “base[s] its ruling on an erroneous view of the law or on a clearly

erroneous assessment of the evidence, or . . . render[s] a decision that cannot be

located within the range of permissible decisions.” Linde v. Arab Bank, PLC, 706

F.3d 92, 107 (2d Cir. 2013) (quoting SEC v. Rajaratnam, 622 F.3d 159, 171 (2d Cir.

2010)).


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      We focus here on the first form of abuse of discretion – a ruling based on an

erroneous view of the law. The government contends that the district court clearly

and indisputably based its ruling on the erroneous legal view that a defendant

may, in certain circumstances, argue jury nullification. Manzano responds that

the government’s right to a writ of mandamus is not clear and indisputable

because no binding authority specifically prevents a district court from allowing

counsel to argue jury nullification.     The necessary implication of Manzano’s

argument is that district courts have the discretion to allow jury nullification

arguments in certain cases, and that the district court’s ruling in this case was not

clearly outside the “range of permissible decisions.” Id.


      Manzano’s argument misperceives our mandamus standard. We have

never required petitioners to point to binding authority directly on point in order

to establish their entitlement to the writ. See, e.g., Stein, 486 F.3d at 760. Indeed,

imposing such a requirement would mean casting aside one of the “touchstones”

of mandamus review – the “presence of an issue of first impression.” Amante, 418

F.3d at 222; see also Schlagenhauf v. Holder, 379 U.S. 104, 111 (1964) (concluding that

the Court of Appeals should have exercised its mandamus power over “issues of

first impression” in order “to settle new and important problems”); infra at 22.


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        Thus, in determining whether a district court has clearly and indisputably

based its ruling on a legal error, we do not confine our review to the narrow (and

often empty) universe of binding cases directly on point. See, e.g., In re City of New

York, 607 F.3d 923, 947 (2d Cir. 2010). Instead, as in any case, we may consider all

relevant legal authorities. See, e.g., id.; see also, e.g., San Jose Mercury News, Inc. v.

U.S. Dist. Court, 187 F.3d 1096, 1102 (9th Cir. 1999) (“While we have never squarely

[answered the question presented in this mandamus petition], we conclude that

the unbroken string of [analogous and out‐of‐circuit] authorities . . . leaves little

doubt as to the answer.”). The ultimate question is simply whether, bearing in

mind the exceptional nature of mandamus, we are left with the “firm conviction”

that the district court’s view of the law was incorrect.4 In re Int’l Bus. Machines

Corp., 687 F.2d 591, 600 (2d Cir. 1982); see also In re Cement Antitrust Litig. (MDL No.

296), 688 F.2d 1297, 1305–07, 1306 n.6 (9th Cir. 1982) (adopting the “firm



4 The dissent labels this formulation of the “clear and indisputable” requirement as “entirely ad
hoc,” “generat[ing] chaos,” and amounting to no “justiciable standard.” Dissenting Op. at 20–21.
But courts routinely apply this formulation in the mandamus context, see, e.g., In re Int’l Bus.
Machines Corp., 687 F.2d 591, 600 (2d Cir. 1982); see also, e.g., In re Bryant, 745 F. App’x 215, 220 (5th
Cir. 2018); In re United States, 884 F.3d 830, 836–37 (9th Cir. 2018); Waymo LLC v. Uber Techs., Inc.,
870 F.3d 1350, 1359 (Fed. Cir. 2017); John B. v. Goetz, 531 F.3d 448, 459 (6th Cir. 2008), and of course
this formulation of the clear‐error standard has been ubiquitous in the context of appellate review
of factual findings since the Supreme Court first articulated it in United States v. United States
Gypsum Co., 333 U.S. 364, 395 (1948); see also, e.g., United States v. Simmons, 661 F.3d 151, 155 (2d
Cir. 2011) (“In order to [reverse for clear error], we must be left with the definite and firm
conviction that a mistake has been committed.” (internal quotation marks and citation omitted)).

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conviction” standard for clear legal error in the mandamus context (citing Int’l Bus.

Machines, 687 F.2d at 599–603)), aff’d by an equally divided court sub nom. Arizona v.

U.S. Dist. Court, 459 U.S. 1191 (1983).


      In this case, we are left with the firm conviction that the district court based

its jury nullification ruling on an erroneous view of the law. Our case law is clear:

“it is not the proper role of courts to encourage nullification.” United States v.

Polouizzi, 564 F.3d 142, 162–63 (2d Cir. 2009). Rather, “the power of juries to

‘nullify’ or exercise a power of lenity is just that – a power; it is by no means a right

or something that a judge should encourage or permit if it is within his authority

to prevent.” United States v. Thomas, 116 F.3d 606, 615 (2d Cir. 1997).


      Here, the district court in fact recognized that our case law “preclude[d] it

from encouraging the jury” to nullify, Doc. No. 60 at 34, but then proceeded to

draw an arbitrary distinction between encouraging the jury via jury instructions –

which it properly deemed impermissible – and granting defense counsel’s motion

to argue nullification. This distinction is unsupported by our case law.


      In Thomas, we concluded that “a presiding judge possesses both the

responsibility and the authority to dismiss a juror whose refusal or unwillingness

to follow the applicable law becomes known to the judge during the course of

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trial.” 116 F.3d at 617. In reaching that conclusion, we explained in no uncertain

terms that “trial courts have the duty to forestall or prevent” jury nullification. Id.

at 616. Our reasoning was thus not limited to the specific facts at issue. Instead,

“tak[ing] th[e] occasion to restate some basic principles regarding the character of

our jury system,” we “categorically reject[ed] the idea that, in a society committed

to the rule of law, jury nullification is desirable or that courts may permit it to occur

when it is within their authority to prevent.” Id. at 614. We have since applied the

principles set forth in Thomas beyond the specific circumstances of that case, see,

e.g., Polouizzi, 564 F.3d at 162–63; United States v. Carr, 424 F.3d 213, 219–21 (2d Cir.

2005); United States v. Pabon‐Cruz, 391 F.3d 86, 95 (2d Cir. 2004), and we have no

hesitation doing so again here.


      Applying the principles enunciated in Thomas, we emphatically reject the

rule, advanced by Judge Underhill as amicus, that district courts are free to permit

jury nullification arguments whenever they feel justice so requires – in other

words, in any case in which the court strongly disagrees with the government’s

charging decisions and the attendant sentencing consequences. As a practical

matter, there is no meaningful difference between a court’s knowing failure to

remove a juror intent on nullification, a court’s instruction to the jury that


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encourages nullification, and a court’s ruling that affirmatively permits counsel to

argue nullification. In each of these situations, the conduct in question subverts

the jury’s solemn duty to “take the law from the court, and apply that law to the

facts of the case as they find them to be from the evidence.” Sparf v. United States,

156 U.S. 51, 102 (1895); see United States v. Trujillo, 714 F.2d 102, 106 (11th Cir. 1983)

(“We therefore join with those courts which hold that defense counsel may not

argue jury nullification during closing argument.”); see also, e.g., United States v.

Gonzalez‐Perez, 778 F.3d 3, 18–19 (1st Cir. 2015); United States v. Dougherty, 473 F.2d

1113, 1130–37 (D.C. Cir. 1972). District courts have a duty to forestall or prevent

such conduct, see Thomas, 116 F.3d at 616, and the district court in this case

abdicated its duty by ruling that defense counsel could argue jury nullification.5


       We have no doubt that in granting Manzano’s motion to argue for jury

nullification, Judge Underhill was acting under the sincere belief that his ruling

was consistent with, and perhaps mandated by, the ends of justice. Nevertheless,

individual judges, cloaked with the authority granted by Article III of the

Constitution, are not at liberty to impose their personal view of a just result in the


5 Indeed, Judge Underhill’s statements that he thought this case “calls for jury nullification,” and
that “justice cannot be done here if the jury is not informed, perhaps by [defense counsel],” of the
sentencing consequences, Doc. No. 60 at 34–35, suggest not simply a ruling that actively permits
nullification, but literal encouragement of jury nullification.
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face of a contrary rule of law. See Hart v. Massanari, 266 F.3d 1155, 1171, 1175 (9th

Cir. 2001) (“Judges of the inferior courts may voice their criticisms [of a law], but

follow it they must. . . . A district court bound by circuit authority, for example,

has no choice but to follow it, even if convinced that such authority was wrongly

decided.”); see also Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1384

(2015) (“[O]nce a case or controversy properly comes before a court, judges are

bound by federal law.”). Nor are judges prosecutorial gatekeepers who may

override the government’s constitutional exercise of charging discretion in the

name of justice. See United States v. Batchelder, 442 U.S. 114, 124 (1979); United States

v. Lovasco, 431 U.S. 783, 790 (1977). Contrary to the dissent’s suggestion, the fact

that we might disagree with the government’s charging decision, or lack a full

understanding of that decision, provides no basis for holding this matter in

abeyance and remanding so that the prosecutors can “revisit their charging

decision” or “provide information as to why they believed their decision was

appropriate.” Dissenting Op. at 1. Subject to narrow exceptions not implicated

here, “so long as the prosecutor has probable cause to believe that the accused

committed an offense defined by statute, the decision whether or not to prosecute,

and what charge to file or bring before a grand jury, generally rests entirely in his



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discretion.” United States v. Armstrong, 517 U.S. 456, 464 (1996); see also, e.g., United

States v. Ng, 699 F.2d 63, 68 (2d Cir. 1983) (“Although one may reasonably disagree

with the [government’s] judgment in the matter, the evaluation of charges clearly

rested within [its] prosecutorial discretion.”).


       Finally, the district court’s ruling may not be upheld on the basis of its

supervisory power “to oversee the administration of criminal justice within

federal courts.” United States v. Johnson, 221 F.3d 83, 96 (2d Cir. 2000). As the

Supreme Court has held, “the supervisory power does not extend so far” as to

“confer on the judiciary discretionary power to disregard the considered

limitations of the law it is charged with enforcing.” United States v. Payner, 447

U.S. 727, 737 (1980); see also United States v. Myers, 692 F.2d 823, 847 (2d Cir. 1982)

(“[Supervisory power] has not been used as a general corrective authority over the

conduct of criminal investigations, and, in light of Payner, its scope is surely not to

be expanded.”). Clearly, then, the supervisory power does not authorize a court

to grant a defendant’s request to argue that the jury should disregard the law.

       For these reasons, we are firmly convinced that the district court’s jury

nullification ruling was based on an erroneous view of the law.6 Accordingly, the


6In so concluding, we have no occasion to pass on whether, or to what extent, a district court
must sua sponte police a lawyer’s arguments to the jury that sound in nullification.
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government has a clear and indisputable right to a writ of mandamus directing

the district court to deny defense counsel’s request for leave to argue nullification.


           3. Appropriateness of Mandamus under the Circumstances


      The third and final Cheney condition requires us to determine whether “the

writ is appropriate under the circumstances.” Cheney, 542 U.S. at 381. “This

requirement recognizes that ‘issuance of the writ is in large part a matter of

discretion with the court to which the petition is addressed.’” Linde, 706 F.3d at

108 (quoting Kerr, 426 U.S. at 403). In exercising this discretion, we may “consider

a range of factors, including whether the petition presents a ‘novel and significant

question of law’ . . . [or] ‘a legal issue whose resolution will aid in the

administration of justice.’” Id. (quoting In re City of New York, 607 F.3d at 939).


      We have little trouble concluding that mandamus is appropriate here. The

specific question of whether a district court may actively permit a defendant to

argue jury nullification is novel and significant in this circuit. Furthermore,

resolving this issue will aid in the administration of justice. Obviously, our

decision will serve to guide district courts in any criminal case in which a

defendant requests leave to argue jury nullification or the government moves to

preclude such argument. But more generally, today we reaffirm a principle of

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fundamental importance in our jury system: namely, that the role of the court is

to ensure, to the extent possible, that justice is done in accordance with the law –

not in derogation of it. This principle is worthy of our mandamus jurisdiction.


       Because the government has satisfied all three Cheney conditions, we grant

the government’s petition for a writ of mandamus directing the district court to

vacate its prior order and to deny defense counsel’s request for leave to argue jury

nullification at trial.


                   B. Evidence of Mandatory Minimum Sentences


       The government also seeks a writ of mandamus directing the district court

to bar the admission of any evidence related to the sentencing consequences that

would result from Manzano’s convictions. With respect to this form of mandamus

relief, we conclude that the Cheney conditions are not satisfied at this time.


                1. Other Adequate Means to Obtain the Relief Sought


       As for the first Cheney condition, the government arguably has other means

short of mandamus to preclude the introduction of the statutory mandatory

minimums, since the district court has yet to rule on the admissibility of such

evidence. See Kerr, 426 U.S. at 404–06; see also, e.g., In re United States, 884 F.3d 830,

838 (9th Cir. 2018); Philip Morris Inc., 214 F.3d at 135. In contrast to the district
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court’s ruling that defense counsel would be permitted to argue for jury

nullification at trial, the district court consistently manifested its intent to defer

ruling on the admissibility of evidence related to sentencing consequences until

after the commencement of trial. When ruling on Manzano’s request to argue jury

nullification, the district court observed that one way in which Manzano could

argue nullification was through evidence related to sentencing consequences “if

[such] evidence comes in.” Doc. No. 60 at 34 (emphasis added). Similarly, at the

October 29, 2018 emergency motion hearing, the district court again recognized

that evidence of sentencing consequences could support Manzano’s jury

nullification arguments “if that evidence comes in as a matter of trial evidence.”

Doc. No. 62 at 6. Thus, the district court has not yet ruled out the possibility that

evidence related to sentencing consequences will be precluded at trial.


      Of course, insofar as the government’s petition specifically seeks a pretrial

evidentiary ruling precluding evidence of sentencing consequences, mandamus

now would be the only means by which the government could obtain such relief,

since the district court expressly deferred its ruling until after the commencement

of trial. Nevertheless, even assuming that the government has preserved a specific




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request for pretrial relief, we conclude that the government’s right to the writ is

not clear and indisputable for the reasons set forth below.


                    2. “Clear and Indisputable” Right to the Writ


      In general, a mandamus petitioner challenging a district court’s

discretionary ruling faces a particularly daunting task. As we have explained, a

petitioner may satisfy the second Cheney condition by demonstrating that the

district court clearly and indisputably abused its discretion in rendering a decision

that is well outside “the range of permissible decisions.” Linde, 706 F.3d at 107

(quoting Rajaratnam, 622 F.3d at 171). However, the more discretion the district

court enjoys in a given area, the greater the range of permissible decisions, and

thus the less likely it will be that any abuse of discretion is “clear and

indisputable.” See Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 36 (1980) (per

curiam) (“Where a matter is committed to discretion, it cannot be said that a

litigant’s right to a particular result is ‘clear and indisputable.’”); UAW v. Natʹl

Caucus of Labor Comms., 525 F.2d 323, 326 (2d Cir. 1975) (“As to orders which lie

within the discretion of the district judge[,] it is settled law in this Circuit that

mandamus will not – indeed, may not – be issued except in the most extraordinary

circumstances.”).


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      In this case, by seeking a writ of a mandamus directing the district court to

issue a pretrial ruling precluding any evidence of sentencing consequences at trial,

the government necessarily challenges not one, but two discretionary decisions:

(1) the district court’s decision regarding when to rule on pretrial evidentiary

motions, and (2) its decision regarding how to rule on the merits of those motions.


      As for when an evidentiary ruling must be made, district courts enjoy broad

discretion to defer ruling on a pretrial motion for “good cause.” Fed. R. Crim. P.

12(d); see also United States v. Barletta, 644 F.2d 50, 57–59 (1st Cir. 1981). A district

court may defer ruling where, for example, the resolution of a pretrial motion

might depend in part upon evidence to be introduced at trial. See United States v.

Shortt Accountancy Corp., 785 F.2d 1448, 1453 (9th Cir. 1986); Barletta, 644 F.2d at

57–59; see also, e.g., United States v. Williams, 644 F.2d 950, 952–53 (2d Cir. 1981).

Similarly, with respect to the merits of an evidentiary ruling, district courts “enjoy

considerable discretion to decide evidentiary issues” within the bounds of the

Federal Rules of Evidence. United States v. Gabinskaya, 829 F.3d 127, 134 (2d Cir.

2016); see also United States v. Coppola, 671 F.3d 220, 244 (2d Cir. 2012) (“The

standard of review applicable to [an appellant’s] Rule 401/403 challenge is highly

deferential in recognition of the district court’s superior position to assess


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relevancy and to weigh the probative value of evidence against its potential for

unfair prejudice.” (internal quotation marks and citation omitted)).


      The government attempts to cut through these layers of discretion by

arguing, in essence, that the district court committed clear legal error (and thus a

clear abuse of discretion) by failing to preclude evidence of the mandatory

minimum sentences, which will be offered solely for the improper purpose of

encouraging nullification. If we were confident in the premise that evidence of

sentencing consequences will be offered solely for that improper purpose, we

would agree that the district court clearly erred in failing to preclude such

evidence, even at the pretrial stage. As the government correctly argues, there is

no difference between improperly permitting defense counsel to argue

nullification and admitting evidence for the sole purpose of encouraging

nullification. See United States v. Funches, 135 F.3d 1405, 1409 (11th Cir. 1998)

(“Because the jury enjoys no right to nullify criminal laws, and the defendant

enjoys a right to neither a nullification instruction nor a nullification argument to

the jury, the potential for nullification is no basis for admitting otherwise irrelevant

evidence.”). Evidence admitted solely to encourage nullification is by definition

irrelevant, and thus inadmissible, regardless of what other evidence might be


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introduced at trial. See Fed. R. Evid. 401–02; Shannon v. United States, 512 U.S. 573,

579 (1994).


      On the sparse pretrial record in this case, however, it is not clear whether

Manzano will seek to introduce evidence of sentencing consequences solely for the

purpose of encouraging nullification. Indeed, at oral argument, defense counsel

proffered an additional purpose for such evidence. Specifically, counsel stated

that he may offer as impeachment evidence M.M.’s purported Facebook post of

the government’s press release setting forth the mandatory minimums for the

purpose of showing M.M.’s bias or improper motive. In that event, given that

there is no “absolute prohibition” on exposing the jury to sentencing

consequences, Shannon, 512 U.S. at 588; see also Polouizzi, 564 F.3d at 161, the district

court would need to assess whether the alleged impeachment evidence is relevant

based on how the trial unfolds (e.g., whether M.M. testifies and the nature of her

testimony), and, if it is, whether it passes muster under Rule 403, see, e.g., United

States v. DiMarzo, 80 F.3d 656, 660 (1st Cir. 1996).


      Thus, we cannot rule out the possibility that the admissibility of sentencing

consequences will depend at least in part on events that will unfold at trial. In

these circumstances, the district court’s decision to defer ruling on the


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admissibility of sentencing consequences until after the commencement of trial

was not clearly and indisputably outside the range of permissible decisions. See

Barletta, 644 F.2d at 57–59; Shortt Accountancy Corp., 785 F.2d at 1453. Because the

district court’s decision therefore did not constitute a clear and indisputable abuse

of discretion, the second Cheney condition is not satisfied.


      Lest our decision be misunderstood, however, we must emphasize two

important points. First, if the district court finds that Manzano is indeed seeking

to introduce evidence of sentencing consequences solely for the purpose of

encouraging nullification, the court must exclude that evidence as irrelevant. See

supra at 27–28. Second, by concluding that the demanding mandamus standard

has not been satisfied on the pretrial record here, we do not thereby endorse a rule

that evidence of sentencing consequences is generally admissible under Rule 403.

In this context, a district court’s discretion should be guided by the special

considerations referenced in Shannon – namely, that evidence of sentencing

consequences “invites [jurors] to ponder matters that are not within their province,

distracts them from their factfinding responsibilities, and creates a strong

possibility of confusion.” 512 U.S. at 579; see also, e.g., DiMarzo, 80 F.3d at 660

(concluding that even if evidence of a “guideline sentencing range had some


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minimal probative value,” the district court did not err in excluding it “given the

considerations alluded to in Shannon” (citing Fed. R. Evid. 403)).


      At this time, however, we do not undertake to define the rare circumstances

in which evidence of sentencing consequences might pass muster under Rule 403.

Nor do we offer any opinion on whether those circumstances might present

themselves during the trial in this case. Rather, we simply hold that, on the pretrial

record here, the government has failed to demonstrate its clear and indisputable

right to the writ as required by the second Cheney condition.


      Accordingly, we deny the government’s petition for a writ of mandamus

directing the district court to preclude the introduction at trial of any evidence

related to sentencing consequences, without prejudice to renewal following the

district court’s ultimate ruling on the motion to preclude. Because our familiarity

with the procedural history and issues in this case will allow us to respond

expeditiously to any future petition during trial, this panel will retain jurisdiction

over any future petition in this case related to the admissibility of the sentencing

consequences of a conviction or, more generally, jury nullification. See, e.g., Philip

Morris Inc., 214 F.3d at 135–36.




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                                  III. CONCLUSION


      The jury remains today, as it has been for centuries, “a central foundation of

our justice system and our democracy.” Peña‐Rodriguez v. Colorado, 137 S. Ct. 855,

860 (2017). For our system to work, the court and the jury must work as partners

to ensure that justice is done in accordance with the law. Of course, jurists and

laypersons alike may disagree over whether justice and the law align in a given

case. It is paramount, however, that in a society committed to the rule of law

courts may not encourage or actively permit juries to ignore the law in the name

of justice. See Sparf, 156 U.S. at 102; Thomas, 116 F.3d at 614; Dougherty, 473 F.2d at

1133–34; United States v. Simpson, 460 F.2d 515, 519–20 (9th Cir. 1972).


      For the foregoing reasons, the petition for a writ of mandamus directing the

district court to deny defense counsel’s request for leave to argue jury nullification

is GRANTED. The petition for a writ of mandamus directing the district court to

exclude any evidence related to sentencing consequences is DENIED. The district

court is hereby instructed to lift the stay of trial proceedings.




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